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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

SOILEAU & ASSOCIATES, LLC,               *        CIVIL ACTION NO. 18-710
through and by its members,
ISAAC H. SOILEAU, JR. and                *
KAREN S. KOVACH, also
appearing herein individually            *
and on behalf of K.S., a minor
child,                                   *        SECTION “ ”

             Plaintiffs                  *

VERSUS                                   *

LOUISIANA HEALTH SERVICE & *                      JUDGE ___________________
INDEMNITY COMPANY, D/B/A
BLUE CROSS AND BLUE SHIELD *
OF LOUISIANA,
                           *
          Defendant
                           *                      MAGISTRATE _____________
*    *    *    *    *  *

                               NOTICE OF REMOVAL

      NOW INTO COURT, through undersigned counsel, comes Defendant Louisiana

Health Service & Indemnity Company, d/b/a Blue Cross and Blue Shield of Louisiana,

(“BCBSLA”) and files this Notice of Removal of this case from the Civil District Court for

Orleans Parish, State of Louisiana, in which it is now pending, to the United States

District Court, Eastern District of Louisiana. In support of this Notice of Removal,

Defendant BCBSLA states:

                                             1.

      A Petition for Damages (“Petition”) commencing this civil action, entitled

“Soileau & Associates, LLC, through and by its members, Isaac H. Soileau, Jr., and

Karen S. Kovach, also appearing herein individually and on behalf of K.S., a minor

child v. Louisiana Health Service & Indemnity Company d/b/a Blue Cross Blue Shield
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of Louisiana,” was filed on December 22, 2017 in the Civil District Court for Orleans

Parish, State of Louisiana, bearing Case Number 2017-12318, Division “C.” Defendant

BCBSLA was served with a copy of the Petition on January 12, 2018.

                                            2.

      Pursuant to 28 U.S.C. § 1446(a), a copy of all pleadings, processes, and orders

that have been served on Defendant are attached hereto as Exhibit “A.”

                                            3.

      This Notice of Removal is filed by Defendant BCBSLA within 30 days of service of

the Petition, as required by 28 U.S.C. § 1446(b).

                                            4.

      Plaintiffs allege a claim for health benefits under the employee health benefit

plan of Soileau & Associates, LLC (“the Plan”) provided to employees of Soileau &

Associates, LLC. and insured through BCBSLA.

                                            5.

      The Plan is an employee welfare benefit plan within the meaning of § 3(1), 29

U.S.C. § 1002(1), of the Employee Retirement Income Security Act of 1974 (“ERISA”),

29 U.S.C. § 1001, et seq. Under the Fifth Circuit’s jurisprudence, a particular insurance

arrangement qualifies as an employee welfare benefit plan under ERISA if: (1) it is a

“plan” (see Meredith v. Time Ins. Co., 980 F.2d 352, 355 (5th Cir.1993) (“A ‘plan’ exists

if ‘a reasonable person’ could ascertain the intended benefits, beneficiaries, source of

financing, and procedures for receiving benefits.”); (2) it does not fall within the safe-

harbor provision established by the Department of Labor (see 29 C.F.R. § 2510.3-1(j));

and (3) it was established or maintained by an employer with the intent to benefit

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employees. See Lain v. UNUM Life Ins. Co., 27 F.Supp.2d 926, 930 (S.D. Tex.1998),

aff’d, 279 F.3d 337 (5th Cir.2002).

                                               6.

          Contrary to Plaintiffs’ allegation that the Plan “is not an ERISA-qualified policy”,1

the Plan in this matter qualifies as an employee welfare benefit plan under ERISA.

Upon information and belief, at all pertinent times, a reasonable person could readily

determine the intended benefits of the Plan and that the beneficiaries of the Plan were

Mr. Soileau, Ms. Kovach, their family, including their minor child, K.S., and the

employees of Soileau & Associates, LLC. Further, the Plan does not fall within the “safe

harbor” provision established by the Department of Labor; among other reasons, the

Plan insures non-family employees and the premiums for the group coverage under the

Plan were billed to and paid by the employer, Soileau & Associates, LLC. Finally, the

Plan was established and maintained by Soileau & Associates, LLC for the benefit of its

employees.

                                                7.

          Plaintiffs’ claim for benefits arises under § 502(a)(1)(B) of ERISA, 29 U.S.C. §

1132(a)(1)(B), and is completely preempted by ERISA.              See Pilot Life Ins. Co. v.

Dedeaux, 481 U.S. 41, 107 S.Ct. 1549 (1987); Aetna Health Inc. v. Davila, 542 U.S. 200,

124 S.Ct. 2488, 159 L.Ed.2d 312 (2004).

                                               8.

          Plaintiffs’ claims against Defendant BCBSLA are necessarily federal, and

therefore removable by Defendant BCBSLA under the “complete preemption” doctrine.


1   See Petition, ¶ 2.
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See Pilot Life Ins. Co., 481 U.S. at 45, 55-57, 107 S.Ct. at 1552, 1557-58; Metropolitan

Life Ins. Co. v. Taylor, 481 U.S. 58, 62-67, 107 S.Ct. 1542, 1546-48 (1987); Aetna Health

Inc., supra.

                                             9.

       The district courts of the United States have original jurisdiction over claims

brought under ERISA. See ERISA § 502(e), 29 U.S.C. § 1132(e), and § 1331.

                                            10.

       Because this action arises under the Court’s federal question jurisdiction (see

Metropolitan Life Ins. Co., supra), this action is properly removable from the Civil

District Court for Orleans Parish, State of Louisiana, to the United States District Court

for the Eastern District of Louisiana, pursuant to 28 U.S.C. §§ 1441(a) and (c) and 1446.

                                             11.

       This notice is executed pursuant to Fed. R. Civ. P. 11.

                                             12.

       The United States District Court for the Eastern District of Louisiana is the

federal judicial district embracing the Civil District Court for Orleans Parish where the

Petition was originally filed. Venue, therefore, is proper in this district under 28 U.S.C.

§ 1441(a).

                                             13.

       Pursuant to 28 U.S.C. § 1446(d), undersigned counsel certifies that a copy of the

Notice of Removal will be served promptly on all parties and will be filed with the Clerk

of Court for the Civil District Court for Orleans Parish.



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                                             14.

      Defendant BCBSLA expressly reserves any and all rights with respect to this

proceeding including, but not limited to, all objections, defenses, and exceptions.



      WHEREFORE, Defendant Louisiana Health Service & Indemnity Company,

d/b/a Blue Cross and Blue Shield of Louisiana, prays that this action be deemed good and

sufficient and proceed in this Court as an action properly removed hereto from the Civil

District Court for Orleans Parish.

                                     Respectfully submitted:


                                     By:   /s/ Allison N. Pham__________________
                                           Allison N. Pham (LA Bar No. 29369)
                                           Charles A. O’Brien, III (LA Bar No. 10143)
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                                     Attorneys for Defendant Louisiana Health Service &
                                     Indemnity Company, d/b/a Blue Cross and Blue
                                     Shield of Louisiana




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                           CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing NOTICE OF REMOVAL

has been served on all counsel of record by depositing a copy of same in the United

States Mail, postage prepaid and properly addressed, to the last known address as

follows:

            Isaac H. Soileau, Jr.
            Karen S. Kovach
            Ryan A. Jurkovic
            SOILEAU & ASSOCIATES, LLC
            1010 Common Street, Suite 2910
            New Orleans, Louisiana 70112

            James E. Cazalot, Jr.
            JAMES E. CAZELOT, JR., APLC
            550 Old Spanish Trail, Suite H
            Slidell, Louisiana 70458

      Baton Rouge, Louisiana, this 23rd day of January, 2018.



                      ______ _/s/ Allison N. Pham_______
                               Allison N. Pham




                                          6
